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                                                               5   Henderson, Nevada 89012
                                                                   Telephone: 702.463.9074
                                                               6
                                                                   Attorneys for Young Hie Choi
                                                               7
                                                                                                 UNITED STATES DISTRICT COURT
                                                               8
                                                                                                        DISTRICT OF NEVADA
                                                               9

                                                              10     UNITED STATES OF AMERICA,                          CASE NO.: 2:12-cr-00268-JAD-CWH
                                                              11                        Plaintiff;
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                                                                        STIPULATION TO CONTINUE
  KATHLEEN BLISS LAW PLLC




                                                              12           vs.                                          SENTENCING AND PROPOSED ORDER
      HENDERSON NEVADA 89012




                                                              13     YOUNG HIE CHOI, et. al.,                           (Third Request)
                                         TEL – 702.463.9074




                                                              14
                                                                                        Defendants.
                                                              15
                                                                          IT IS HEREBY STIPULATED AND AGREED, by and between Kimberly Frayn,
                                                              16
                                                                   Assistant United States Attorney, counsel for the United States of America; and Kathleen Bliss,
                                                              17
                                                                   counsel for defendant Young Hie Choi, that the sentencing hearing currently set for August 14,
                                                              18
                                                                   2017, be VACATED and reset to a time convenient for the Court, but no earlier than six weeks
                                                              19
                                                                   from the current date, as the Court’s calendar allows it. This stipulation is entered into based upon
                                                              20
                                                                   the following:
                                                              21
                                                                          1. Counsel for the defendant starts a trial on August 7, 2017, in United States v.
                                                              22
                                                                                 Hunsberger, 2:14-cr-328-KJD-NJK, which may conflict with the sentencing herein.
                                                              23
                                                                          2. The government and defendant are trying to negotiate an agreed restitution amount.
                                                              24
                                                                          3. Counsel for the United States is scheduled to be out of the office on medical leave
                                                              25
                                                                                 beginning August 21, 2017, and will be unavailable for up to six weeks.
                                                              26
                                                                          4. The defendant is not incarcerated and does not object to the continuance.
                                                              27
                                                                          5. The government agrees to the continuance.
                                                              28

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                                                               1
                                                                          6. This is the third request to continue the sentencing hearing date filed herein.
                                                               2

                                                               3

                                                               4   Dated this 14th day of July 2017.

                                                               5
                                                                   /S/ Kimberly Frayn_____________                /S/ Kathleen Bliss
                                                               6   Kimberly Frayn                                 Kathleen Bliss, Esq.
                                                               7   Assitant United States Attorney                Attorney for defendant Young Hie Choi
                                                                   Attorney for the United States
                                                               8

                                                               9

                                                              10

                                                              11
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




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      HENDERSON NEVADA 89012




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                                                               1                              UNITED STATES DISTRICT COURT

                                                               2                                    DISTRICT OF NEVADA

                                                               3
                                                                     UNITED STATES OF AMERICA,                     CASE NO.: 2:12-cr-00268-JAD-CWH
                                                               4
                                                                                     Plaintiff;
                                                               5                                                   ORDER TO CONTINUE SENTENCING
                                                                          vs.                                      HEARING
                                                               6
                                                                     CHOI, et al.,
                                                               7
                                                                                     Defendants.
                                                               8

                                                               9          Based upon the stipulation of counsel, and good cause appearing, IT IS HEREBY
                                                              10   ORDERED that the sentencing hearing currently scheduled for August 14, 2017, be and the
                                                              11   same hereby is VACATED and continued to _____________________
                                                                                                            October 2, 2017 at the at the of
                                                                                                                                   hour   hour of a.m.
                                                                                                                                             9:00
1070 W. HORIZON RIDGE PKWY., SUITE 202
  KATHLEEN BLISS LAW PLLC




                                                              12   _________.
                                                                         DATED
                                                                         DATEDthis
                                                                               this 17th
                                                                                    _____day
                                                                                          dayofofJuly, 2017.
      HENDERSON NEVADA 89012




                                                              13                                  ___________________, 2017.
                                         TEL – 702.463.9074




                                                              14

                                                              15                                                     _________________________________
                                                              16                                                     The Honorable Jennifer A. Dorsey
                                                                                                                      United States District Judge
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